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                     UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF PENNSYLVANIA



                                           Master File No. 2:19-cv-04565-JHS
IN RE USA TECHNOLOGIES, INC.
SECURITIES LITIGATION,
                                                   CLASS ACTION




                          ORDER AND JUDGMENT
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        On the 30th day of October 2020, a hearing having been held before this Court to

determine: (1) whether the terms and conditions of the Stipulation and Agreement of Settlement

dated May 29, 2020 (the “Settlement Stipulation”) are fair, reasonable and adequate for the

settlement of all claims asserted by the Settlement Class against Defendants (as defined in the

Settlement Stipulation), including the release of the Released Claims against the Released Parties,

and should be approved; (2) whether judgment should be entered dismissing the Action with

prejudice; (3) whether to approve the proposed Plan of Allocation as a fair and reasonable method

to allocate the Net Settlement Fund among Settlement Class Members; (4) whether and in what

amount to award Plaintiffs’ Counsel as fees and reimbursement of expenses; and (5) whether and

in what amount to award Plaintiffs; and

        The Court having considered all matters submitted to it at the hearing and otherwise; and

        It appearing in the record that the Notice substantially in the form approved by the Court

in the Court’s Order Granting Plaintiffs’ Motion for Preliminary Approval of Class Action

Settlement, dated June 9, 2020 (“Preliminary Approval Order”) was mailed to all reasonably

identifiable Settlement Class Members and posted to the website of the Claims Administrator, both

in accordance with the Preliminary Approval Order and the specifications of the Court; and

        It appearing in the record that the Summary Notice substantially in the form approved by

the Court in the Preliminary Approval Order was published and emailed to identifiable Settlement

Class Members when an email address was provided to the Claims Administrator in accordance

with the Preliminary Approval Order and the specifications of the Court;

        NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

THAT:




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         1.     This Order and Judgment incorporates by reference the definitions in the Settlement

Stipulation, and all capitalized terms used herein shall have the same meanings as set forth therein.

         2.     The Court has jurisdiction over the subject matter of the Action, Plaintiffs, all

Settlement Class Members, and Defendants.

         3.     The Court finds that, for settlement purposes only, the prerequisites for a class

action under Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure have been satisfied in

that:

        (a) the number of Settlement Class Members is so numerous that joinder of all members

        thereof is impracticable;

        (b) there are questions of law and fact common to the Settlement Class;

        (c) the claims of the Plaintiffs are typical of the claims of the Settlement Class;

        (d) Plaintiffs and Plaintiffs’ Counsel fairly and adequately represent the interests of the

        Settlement Class;

        (e) questions of law and fact common to the members of the Settlement Class predominate

        over any questions affecting only individual members of the Settlement Class; and

        (f) a class action is superior to other available methods for the fair and efficient adjudication

        of this Action, considering:

                i.      the interests of the Settlement Class Members in individually controlling

                the prosecution of the separate actions;

                ii.     the extent and nature of any litigation concerning the controversy already

                commenced by Settlement Class Members;

                iii.    the desirability or undesirability of concentrating the litigation of these

                claims in this particular forum; and




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               iv.       the difficulties likely to be encountered in the management of the class

               action.

The Settlement Class is being certified for settlement purposes only.

       4.      The Court hereby finally certifies this action as a class action for purposes of the

Settlement, pursuant to Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure, on behalf of

all persons, entities, and Investment Vehicles, other than Defendants and their affiliates, who

purchased or otherwise acquired USAT common stock from August 22, 2017 through February 6,

2019, both dates inclusive, seeking to recover compensable damages caused by USAT’s and the

Officer Defendants’ purported violations of the Securities Exchange Act of 1934 (“Exchange Act

Class”); and a subclass consisting of all persons, entities and Investment Vehicles who purchased

USAT common stock in or traceable to the Company’s May 23, 2018 follow-on public offering

pursuant to the Company’s Registration Statement and Prospectus issued in connection with that

offering seeking to recover compensable damages caused by Defendants’ purported violations of

the Securities Act of 1933 (“Securities Act Subclass”). Excluded from the Exchange Act Class and

Securities Act Subclass are Defendants, the present and former officers and directors of USAT at

all relevant times, members of their immediate families and their legal representatives, heirs,

successors or assigns and any entity in which Defendants have or had a majority interest. Also

excluded from the Settlement Class are those Persons who filed valid and timely requests for

exclusion in accordance with the Preliminary Approval Order.

       5.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, for the purposes of

this Settlement only, Plaintiffs are certified as the class representatives on behalf of the Settlement

Class (“Class Representatives”) and Lead Counsel previously selected by Lead Plaintiff and




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appointed by the Court is hereby appointed as Class Counsel for the Settlement Class (“Class

Counsel”).

       6.      In accordance with the Court’s Preliminary Approval Order, the Court hereby finds

that the forms and methods of notifying the Settlement Class of the Settlement and its terms and

conditions met the requirements of due process, Rule 23 of the Federal Rules of Civil Procedure,

and Section 21D(a)(7) of the Exchange Act, 15 U.S.C. § 78u-4(a)(7), as amended by the Private

Securities Litigation Reform Act of 1995; constituted the best notice practicable under the

circumstances; and constituted due and sufficient notice of these proceedings and the matters set

forth herein, including the Settlement and Plan of Allocation, to all persons and entities entitled to

such notice. No Settlement Class Member is relieved from the terms and conditions of the

Settlement, including the releases provided for in the Settlement Stipulation, based upon the

contention or proof that such Settlement Class Member failed to receive actual or adequate notice.

A full and fair opportunity has been offered to the Settlement Class Members to object to the

proposed Settlement and to participate in the hearing thereon. The Court further finds that the

notice provisions of the Class Action Fairness Act, 28 U.S.C. § 1715, were fully discharged. Thus,

it is hereby determined that all Settlement Class Members are bound by this Order and Final

Judgment except those persons listed on Exhibit A to this Order and Final Judgment.

       7.      The Settlement is approved as fair, reasonable and adequate under Rule 23 of the

Federal Rules of Civil Procedure, and in the best interests of the Settlement Class. This Court

further finds that the Settlement set forth in the Settlement Stipulation is the result of good faith,

arm’s-length negotiations between experienced counsel representing the interests of Class

Representatives, Settlement Class Members and Defendants. The Parties are directed to




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consummate the Settlement in accordance with the terms and provisions of the Settlement

Stipulation.

       8.      The Action and all claims contained therein, as well as all of the Released Claims,

are dismissed with prejudice as against Defendants and the Released Parties. The Parties are to

bear their own costs, except as otherwise provided in the Settlement Stipulation.

       9.      The Releasing Parties, on behalf of themselves, their successors and assigns, and

any other Person claiming (now or in the future) through or on behalf of them, regardless of

whether any such Releasing Party ever seeks or obtains by any means, including without limitation

by submitting a Proof of Claim and Release Form, any disbursement from the Settlement Fund,

shall be deemed to have, and by operation of this Order and Judgment shall have, fully, finally,

and forever released, relinquished, and discharged all Released Claims against the Released

Parties. The Releasing Parties shall be deemed to have, and by operation of this Order and

Judgment shall have, covenanted not to sue the Released Parties with respect to any and all

Released Claims in any forum and in any capacity. The Releasing Parties shall be and hereby are

permanently barred and enjoined from asserting, commencing, prosecuting, instituting, assisting,

instigating, or in any way participating in the commencement or prosecution of any action or other

proceeding, in any forum, asserting any Released Claim, in any capacity, against any of the

Released Parties. Nothing contained herein shall, however, bar the Releasing Parties from bringing

any action or claim to enforce the terms of the Settlement Stipulation or this Order and Final

Judgment.

       10.     To the fullest extent permitted by law, all Persons shall be permanently enjoined,

barred and restrained from bringing, commencing, prosecuting or asserting any claims, actions, or

causes of action for contribution, indemnity or otherwise against any of the Released Parties




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seeking as damages or otherwise the recovery of all or any part of any liability, judgment or

settlement which they pay or are obligated to pay or agree to pay to the Settlement Class or any

Settlement Class Member arising out of, relating to or concerning such Persons’ participation in

any acts, facts, statements or omissions that were or could have been alleged in the Action, whether

arising under state, federal or foreign law as claims, cross-claims, counterclaims, third-party claims

or otherwise, in the Court or any other federal, state, or foreign court, or in any arbitration

proceeding, administrative agency proceeding, tribunal, or any other proceeding or forum. Nothing

in the Settlement Stipulation or this Order and Judgment shall apply to bar or otherwise affect any

claim for insurance coverage by any Defendant or any claim brought directly by or derivatively

on behalf of any Defendant against any of its Related Parties, any other Defendant, or any other

Defendant’s Related Parties.

       11.     The Court hereby finds that the proposed Plan of Allocation is a fair and reasonable

method to allocate the Net Settlement Fund among Settlement Class Members, and Class Counsel

and the Claims Administrator are directed to administer the Plan of Allocation in accordance with

its terms and the terms of the Settlement Stipulation.

       12.     The Court finds that the Parties and their counsel have complied with all

requirements of Rule 11 of the Federal Rules of Civil Procedure and the Private Securities

Litigation Reform Act of 1995 as to all proceedings herein.

       13.     Nothing in this Order and Judgment, the Settlement Stipulation (including the

Settlement contained therein), the terms and provisions of the Settlement, or any of the

negotiations, documents or proceedings connected with the Settlement and this Order and

Judgment is, may be deemed to be or may be used in any civil, criminal or administrative




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proceeding in any court, administrative agency or other tribunal as an admission, concession, or

evidence of:

               (a)     the validity or invalidity of any Released Claims, the truth or falsity of any

       fact alleged by Class Representatives or in any pleadings in the Action, the sufficiency or

       deficiency of any defense that has been or could be asserted in the Action, or of any

       wrongdoing, liability, negligence or fault of Defendants, the Released Parties, or each or

       any of them;

               (b)     any fault or misrepresentation or omission with respect to any statement or

       written document attributed to, approved or made by Defendants or Released Parties;

               (c)     the infirmity or strength of any claim raised in the Action, the truth or falsity

       of any fact alleged by the Class Representatives or the Settlement Class, or the availability

       or lack of availability of meritorious defenses to the claims raised in the Action;

               (d)     the merits or lack of merit of any of Class Representatives’ or Settlement

       Class Members’ claims;

               (e)     the appropriateness or inappropriateness of class certification of any

       litigation class; or

               (f)     the validity or amount of any damages sought or potentially recoverable in

       the Action.

       14.     The Released Parties may file the Settlement Stipulation and/or this Order and

Judgment in any other action that may be brought against them in order to support a defense or

counterclaim based on principles of res judicata, collateral estoppel, full faith and credit, release,

good faith settlement, judgment bar or reduction or any other theory of claim preclusion or issue

preclusion or similar defense or counterclaim. The Parties may file the Settlement Stipulation




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and/or this Order and Judgment in any proceedings that may be necessary to consummate or

enforce the Settlement Stipulation, the Settlement, or this Order and Judgment.

       15.     Except as otherwise provided herein or in the Settlement Stipulation, all funds held

by the Escrow Agent shall be deemed to be in custodia legis and shall remain subject to the

jurisdiction of the Court until such time as the funds are distributed or returned pursuant to the

Settlement Stipulation and/or further order of the Court.

       16.     Without affecting the finality of this Order and Judgment in any way, this Court

hereby retains continuing exclusive jurisdiction over the Parties and the Settlement Class Members

for all matters relating to the Action, including the administration, interpretation, effectuation or

enforcement of the Settlement Stipulation and this Order and Judgment, and including any

application for fees and expenses incurred in connection with administering and distributing the

Net Settlement Fund to the Settlement Class Members.

       17.     Without further order of the Court, Defendants and Class Representatives may

agree to reasonable extensions of time to carry out any of the provisions of the Settlement

Stipulation.

       18.     There is no just reason for delay in the entry of this Order and Judgment and

immediate entry by the Clerk of the Court is expressly directed pursuant to Rule 54(b) of the

Federal Rules of Civil Procedure.

       19.     The finality of this Order and Judgment shall not be affected, in any manner, by

rulings that the Court may make on Class Counsel’s application for an award of attorneys’ fees

and expenses or an award to Class Representatives.

       20.     In the event the Settlement is not consummated in accordance with the terms of the

Settlement Stipulation, then the Settlement Stipulation and this Order and Judgment (including




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any amendment(s) thereof, and except as expressly provided in the Settlement Stipulation or by

order of the Court) shall be null and void, of no further force or effect, and without prejudice to

any Party, and may not be introduced as evidence or used in any action or proceeding by any

Person against the Parties or the Released Parties, and each Settling Party shall be restored to his,

her or its respective litigation positions as they existed prior to March 24, 2020, pursuant to the

terms of the Settlement Stipulation.




Dated: October 30, 2020                               /s/Joel H. Slomsky, J.
                                                      HON. JOEL H. SLOMSKY
                                                      UNITED STATES DISTRICT JUDGE




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                            EXHIBIT A

              List of Excluded Parties From Settlement


None




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